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IN THE UNITED STATES DISTRlCT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

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WILLIAM L. JoHNsoN, q
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Piaintifr, § V, _r ”?1 :::
vs. g NO_ 03§:;_1_01¥',':1" ;;E’,
132 ii m 1:
DoNAL CAMPBELL, et al., § “° `
t '5:»1
Defendants. § :',
§ -` f 'J
‘"", ;;"J

 

 

ORDER DlSMlSSING UNEXHAUSTED CLAIMS WITHOUT PREIUDICE
ORDER GRANTING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
ON REMAINING CLAIMS
ORDER CERTIFYING APPEA;. NOT TAKEN IN GOOD FAITH

ND
ORDER ASSESSING APPELLATE FILING FEE

Plaintiff, William L. Johnson, Tennessee Department OfCorrectiOnS (TDOC) inmate
number 337618, an inmate at the Northwest Correctional Complex (NWCX), filed this pr_o
§ complaint under 42 U.S.C. § 1983, alleging that former Tennessee Department of
Correction (TDOC) Commissioner Donal Campbell, NWCX Warden Fred Raney, and Dr.
Lester Lewis denied him proper medical care and pain medication for his leukemia after his
transfer to NWCX in December 0f200l. On March 8, 2004, the Court dismissed state law
claims and claims made against Campbell and Raney in their official capacities On August
4, 2004, the Court granted Lewis’ motion for summary judgment and dismissed all claims
against him.

On May 9, 2005, defendants Campbell and Raney filed a motion for summary
judgment, accompanied by a memorandum in support, affidavit of Fred Raney, affidavit of
Donal Carnpbell, certified copy of TDOC Policy lndex 3 501 .01 , certified copy of J ohnson’s

grievance no. 337618, and defendants’ responses to plaintiff’s request for production of

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documents, including a copy of Johnson’s TDOC medical file. Plaintiff responded to the

motion to dismiss on May 23, 2005. The bases for defendants’ motion for summary

judgment are:

l.

3.

Section 1983 liability cannot be imposed upon state prison officials
based solely on their denial of an inmate’s administrative grievance or
their failure to act on information contained in the grievance;
Defendants did not violate plaintiff’ s Eighth or Fourteenth Amendment
rights; and

Defendants are entitled to qualified immunity.

The following undisputed facts appear in the record:

l.

The plaintiff is William Johnson, TDOC registration no. 3 37618. (Complaint,
p- 1)

Johnson suffers from myelogenous leukemia (Complaint, p. 2, para. 5; p. 3
para. 9, Defendants’ response to Request No. l: Johnson’s medical file)
Johnson filed inmate grievance no 00139661 in Which he complained that his
prescribed medication was not relieving the pain in his spleen, that he ran out
of the medication on Oct. l, 2002, and that although he had signed up to See
the doctor on September 3, 2002, he had not seen the doctor as of October l l,
2002, the day he signed his grievancel Johnson requested the administration
to correct the problem and provide him the proper medical care. (Certified
copy of grievance)

On October lS, 2002, the grievance board chairman responded that Johnson’s
grievance vvas "deerned inappropriate per policy 501 .Ol . Grievance is past the

7 day filing limit." (Certified copy of response)

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5. On October 15, 2002, defendant Raney agreed with the response but also
made a notation that a copy of the grievance should be sent to the health
administrator to check on the situation. (Certified copy of response)

6. On November 6, 2002, Assistant TDOC Commissioner Cook concurred with
defendant Raney. (Certified copy of Commissioner’s response)

7. Defendants Raney and Campbell are not physicians . The record does not
reflect that the defendants participated in any decisions regarding Johnson’s
medical treatment The record does not reflect that defendant Raney was
aware of any problem with Johnson’s treatment until reviewing plaintiff" s
grievance The record does not reflect that defendant Campbell was aware of
Johnson ’ s medical condition or the treatment received until this litigation was
instituted (Affidavits of Raney and Campbell)

Under Rule 56(0), summary judgment is proper "if the pleadings, depositions,
answers to interrogatories, and admissions on file, together with the affidavits, if any, show
that there is no genuine issue as to any material fact and that the moving party is entitled to
ajudgment as a matter oflaw." Fed. R. Civ. P. 56(0); B Celotex Coro. v. Catrett, 477 U.S.
3 l7, 322 (1986). "So long as the movant has met its initial burden of "demonstrat[ing] the
absence of a genuine issue of material fact," § at 323, the nonmoving party then "must set
forth specific facts showing that there is a genuine issue for trial." Fed. R. Civ. P. 56(e). If
the nonmoving party is unable to make such a showing, summary judgment is appropriate
Emmons v. McLaughlin, 874 F.Zd 351, 353 (6th Cir. 1989). In considering a motion for
summary judgment, "the evidence as well as the inferences drawn therefrom must be read
in the light most favorable to the party opposing the motion." Kochins v. Linden-Alimak
L, 799 F.Zd 1128, 1133 (6th Cir. 1986).

 

Pursuant to Rule 56(e), a "party opposing a properly supported motion for summary

judgment may not rest upon the mere allegations or denials of his pleading, but must set

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forth specific facts showing that there is a genuine issue for trial." Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 248 (1986)(citations omitted). A genuine issue of material fact
exists "if the evidence [presented by the non-moving party] is such that a reasonable jury
could return a verdict for the non-moving party." Anderson, 477 U.S. at 248. In essence,
the inquiry is "whether the evidence presents a sufficient disagreement to require submission
to a jury or whether it is so one-sided that one party must prevail as a matter of law.'1 l_d. at
251-52.

Johnson alleges that Raney, as warden of NWCX, and Campbell, as TDOC
Commissioner, were put on notice of, had knowledge of, and tacitly approved the denial of
medical treatment and pain medication through the TDOC administrative grievance
procedure Plaintiff further alleges that although he attempted to demonstrate in the
grievance process that the denial of treatment and pain medication was an “ongoing
occurrence," the defendants chose not to address substance of his grievance, but denied it
as untimely Johnson contends that Raney and Campbell had the authority to act to correct
the problems set forth in his grievance but chose to disregard the substance of the grievance

Defendants stipulate that Johnson has leukemia, a serious medical condition. Both
defendants respond that they are not medical professionals, did not participate any decision
concerning the provision of medical care to Johnson, and did not have the authority to
develop treatment plans for, prescribe medications to, or perform medical procedures on
TDOC inmates. Raney alleges that he affirmed the grievance board chairman’s response
that Johnson’s grievance was not timely, however, he instructed the health administrator to
investigate the situation. Campbell states that he did not actually review plaintiff’ s
grievance, which was responded to by Assistance Commissioner Howard Cook, or have
knowledge ofplaintiff" s medical condition or treatment, until the initiation of this litigation

Johnson responds that his complaint encompasses more than liability for denying a

grievance or failure to act on information in the grievance He contends that Raney and

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Campbell, by virtue of their positions of authority, were responsible for his medical care and
quality of life and were, therefore, obligated to act to address and rectify problems with
medical care once they were informed of the problems1 He states that any alleged direction
by Raney for the health administrator to "look into" the situation is not sufficient response
to relieve him of liability. Johnson believes that Raney was "obligated to ensure the plaintiff
would not be left to suffer continuously" and "should make an attempt to help the plaintiff
improve on his quality of life." Johnson further alleges that Campbell’s failure to personally
review his grievance should not relieve him of liability because of his responsibility for
those to which he delegates his authority

Plaintiff did not file a copy of his grievance as an exhibit to his complaint The Court
has now had an opportunity to review the certified copy of plaintiff" s grievance which was
filed as an exhibit by the defendants on May 9, 2005. State prisoners who desire to bring
civil rights claims are required to exhaust all available administrative remedies prior to filing
suit in federal court. 42 U.S.C. § l997e(a); Lavista v. Beeler, 195 F.3d 254, 256 (6th Cir.
1999). The prisoner has the burden of demonstrating that he has exhausted these remedies
Brown v. Toombs, 139 F.3d 1102, 1104 (6th Cir. 1998).

Plaintiff did not articulate any equal protection violation in his grievance Plaintiff
complained that he had not seen the doctor although he had signed up for sick call, his
prescribed medication had run out, and the medication that had been prescribed was not
sufficient to relieve his pain. “A plaintiff who fails to allege exhaustion of administrative
remedies through ‘particularized averrnents’ does not state a claim on which relief may be
granted, and his complaint must be dismissed s_u_a §pon_te." Baxter v. Rose, 305 F.3d 486,
489 (6th Cir. 2002). Accordingly, the Court DISMIS SES plaintiff`s equal protection claim,
without prejudice, pursuant to 42 U.S.C. § 1997e(a).

 

l The defendants knowledge, real and imputed, was obtained by virtue of reviewing plaintiff"s

grievance Plaintiff fails to recognize that his argument is circuitous.

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Furthermore,

A prisoner must s ecifically mention the involved arties in the grievance to

alert the rison o ficials to the problems so that t e prison has a change to

address t e claims before they reach federal court. Cu@ v. Scott, 249 F.3d

493, 505 (6th Cir. 2001).
Moorer v. Price, 83 Fed. Appx. 770, 2003 WL 23095678, at **l (6th Cir. 2003). Plaintiff’s
grievance did not name any defendant to this action, nor did it articulate his claims against
Raney or Campbell. Thomas v. Woolum, 337 F.3d 720, 733-34 (6th Cir. 2003); Cur_ry, 249
F.3d at 504. Although the Court notes that plaintiff”s remaining claims against Raney and
Campbell are clearly unexhausted However, even assuming Johnson properly exhausted
those claims, 28 U.S.C. l997e(c)(2) provides that a court may, despite a lack of exhaustion,
dismiss claims which fails to state a claim upon which relief may be granted

In the event that a claim iS, on its face, frivolous, malicious, fails to state a

claim upon which relief can be granted, or seeks monetary relief from a

defendant who is immune from such relief, the Court may dismiss the

underlying claim without first requiring the exhaustion of administrative
remedies

42 U.S.C. § l997e(c)(2).

The Eighth Amendment prohibits cruel and unusual punishment See generally
Wilson v. Seiter, 501 U.S. 294 (1991). Under the Supreme Court decision of Estelle v.
GaLble, 429 U.S. 97, 104 (1976), "deliberate indifference to serious medical needs of
prisoners constitutes the ‘unnecessary and wanton infliction of pain,’ proscribed by the
Eighth Amendment." However, not "every claim by a prisoner that he has not received
adequate medical treatment states a violation of the Eighth Amendment." ELelle, 429 U.S.
at 105. "ln order to state a cognizable claim, a prisoner must allege acts or omissions
sufficiently harmful to evidence deliberate indifference to serious medical needs lt is only
such indifference that can offend ‘evolving standards of decency’ in violation of the Eighth

Amendment " LL

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An Eighth Amendment claim consists of objective and subjective components
Farmer v. Brennan, 511 U.S. 825, 834 (1994); Hudson v. Mcl\/lillian, 503 U.S. 1, 8 (1992);
WM, 501 U.S. at 298; Brooks v. Celeste, 39 F.3d 125, 127-28 (6th Cir. 1994); Hu_ntv_.
Reynolds, 974 F.2d 734, 735 (6th Cir. 1992). The objective component requires that the
deprivation be "sufficiently serious." Farmer, 511 U.S. at 834; Hudson, 503 U.S. at 8;

 

 

_U)_n, 501 U.S. at 298. The subjective component requires that the official act with the
requisite intent, that is, that he have a "sufficiently culpable state of mind." `_FLn_e_r, 51 1 U.S.
at 834; _VMM_, 501 U.S. at 297, 302-03. The official's intent must rise at least to the level
of deliberate indifference Farmer, 511 U.S. at 834; Wilson, 501 U.S. at 303.

 

 

Within the context of ESM claims, the objective component requires that the
medical need be sufficiently serious Hunt v. Rejmolds, 974 F.2d 734, 735 (6th Cir. 1992).
"A medical need is serious if it is one that has been diagnosed by a physician as mandating
treatment or one that is so obvious that even a lay person would easily recognize the
necessity for a doctor's attention." Ramos v. Lamm, 639 F.2d 559, 575 (lOth Cir.
l980)(quoting Laarnan v. Helgemoe, 437 F. Supp. 269, 311 (D.N.H. 1977)).

To make out a claim of an Eighth AmendmentMviolation, a prisoner must plead
facts showing that "prison authorities have denied reasonable requests for medical treatment
in the face of an obvious need for such attention where the inmate is thereby exposed to
undue suffering or the threat of tangible residual injury." Westlake v. Lucas, 537 F.2d 857,
860 (6th Cir. 1976). The Court clarified the meaning of deliberate indifference in Farmer

 

v. Brennan, as the reckless disregard of a substantial risk of serious harm; mere negligence
will not suffice id 51 1 U.S. at 83 5-3 6. Consequently, allegations of medical malpractice
or negligent diagnosis and treatment fail to state an Eighth Amendment claim of cruel and
unusual punishment _S_L Eit,eh, 429 U.S. at 106.

The mere fact that a defendant is in a position of authority does not allow imposition

of liability against him. There is no respondeat superior liability under § 1983. _S__@ Monell

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v. Dep’t ofSoc. Servs., 436 U.S. 658, 691 , (1978); Copeland v. Machulis, 57 F.3d 476, 481
(6th Cir. 1995); Bellamy v. Bradley, 729 F.2d 416, 421 (6th Cir. 1984)(liability under §
1983 in a defendant's personal capacity must be predicated upon some showing of direct,
active participation in the alleged misconduct); Jones v. Citv of Memnhis, 586 F.2d 622,
624-25 (6th Cir. 1978).

ln order for supervisory liability to attach, a plaintiff must prove that the official "did
more than play a passive role in the alleged violation or showed mere tacit approval of the
goings on." Bass v. Robinson, 167 F.3d 1041, 1048 (6"1Cir. 1999)(citations omitted). A
plaintiff must show that the official "either encouraged the specific incident of misconduct
or in some other way directly participated in it.“ Sheehee v. Luttrell, 199 F.3d 295, 300(6th
Cir. 1999)(citations and quotations omitted). At the very least, "a plaintiff must show that
the official implicitly authorized, approved, or knowingly acquiesced in the
unconstitutional conduct of the offending officers." I_c_l._

Johnson fails to allege that defendant Raney knew of any request or the denial of any
request for additional medical evaluation, treatment, or medication before the filing of his
grievance Likewise, he fails to establish that defendant Campbell knew of his allegations
prior to the institution of this lawsuit. He does not allege that either defendant participated
in or authorized the medical decisions and actions from which his grievance arose My
v. Bradley, 729 F. 2d at 421.

Defendants’ only participation in the events alleged in this complaint is their denial
of the appeals of Johnson’s grievance The denial of the appeal of a prisoner’s grievance
cannot in itself constitute sufficient personal involvement to state a claim of constitutional
dimension Simpson v. Overton, 79 Fed. Appx. 117, 2003 WL 22435653 (6‘h Cir. 2003);
sewesz Martin v. Harvey, 14 Fed. Appx. 307, 2001 WL 669983, at *2 (6th Cir. 2001)("The
denial of the grievance is not the same as the denial of a request to receive medical care.").

Moreover, § 1983 liability may not be imposed against the defendants for "a mere failure to

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act" based upon information contained in the grievance §_ee Shehee v. Luttrell, 199 F.3d
295, 300 (6th Cir. 1999); Lillard v. Shele Countv Bd. ofEduc., 76 F.3d 716, 727-28 (6th
Cir. 1996).

Indisputably, plaintiff" s medical condition is serious However, Johnson’s medical
records and his own allegations establish that he received continuous medical evaluation and
treatment, although admittedly, the medication provided did not relieve the pain associated
with his condition The affidavit of Dr. Lester Lewis2 revealed that prior to the grievance
plaintiff was transferred to the DeBerry Special Needs Facility (DSNF) for evaluation or
possible surgery in an apparent effort to relieve his serious pain. Dr. Lewis was reviewing
plaintiffs medical records on the very date plaintiff signed his grievance, October 1 1 , 2002,
to schedule the gastroenterology consult which the DSNF physician recommended take
place before any surgery. Despite the lack of any indication of unconstitutional conduct,
defendant Raney requested the health administrator to check on the situation.

Johnson contends the Raney’s request to look into the situation was insufficient and
that the defendants ratified the allegedly unconstitutional behavior by failing to investigate
or take remedial measures following their review of his grievance Although failure to
investigate may give rise to § 1983 supervisory liability, ge Walker v. Norris, 917 F.2d
1449, 1457 (6‘h Cir. 1990) and Marchese v. Lucas, 758 F.2d 181, 188 (6"‘ Cir. 1985), the
reasoning in V_V_a_l,l@ and the analysis in its progeny indicate that evidence of the "failure to
investigate“ can only establish municipal liability. ln Dyer v. Casey, 1995 WL 712765, at
**2 (6th Cir. 1995), the Court stated that "the theory underlying [Marchese and L_u@
(citations omitted)] is that the municipality's failure to investigate or discipline amounts to

a 'ratification' of the officer's conduct.“

 

Lewis was previously dismissed as a defendant by order entered August 4, 2004.

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fn M, the Sixth Circuit distinguished Marchese because the Court "imposed the
broad investigative responsibilities outlines in Marchese upon the Sheriff in his official
capacity." Ml_eg, 917 F.2d at 1457 ("The Sheriff is sued here in his official capacity and
in that capacity, he had a duty to both know and act."). ln 1998, the Sixth Circuit affirmed
the dismissal of a claim of supervisory liability based on the "failure to investigate“ stating:

Young's claim against defendants McAninch and Goff is based solely on their

alleged failure to investigate defendant Ward‘s behavior towards Young.

Although Young stated that defendants McAninch and Goff had knowled e

of his allegations against defendant Ward, this is insufficient to meet the

standard that they either condoned, encouraged or knowingly acquiesced in

the misconductl
Young v. Ward, 1998 WL 384564 *1 (6th Cir. 1998). Plaintiff’ s claims against Raney and
Campbell are brought against them in their individual capacities,3 therefore his claims based
upon ratification or failure to take any remedial measure fail to state any claim upon which
relief may be granted

A violation of oath of office under r1`enn. Code Ann. § 41-1-103 fails to provide any
basis for a civil action under § 1983. Pendleton v Mills, 73 S.W.3d 115, 130 (Tenn. App.
2001). Section 1983 does not in and of itself create substantive rights Rather, 42 U.S.C.
§ 1983 provides a vehicle for remedying the violation of rights created by federal law.
American Manufacturers Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 49-50 (1999); Oklahoma
City v. Tuttle, 471 U.S. 808, 816 (1985). Contrary to plaintiffs argument, prison officials
are not insurers of prisoners' safety. Cockrum v. State of Tennessee, 843 S.W.2d 433, 437
(Tenn. App. 1992).

Plaintiff has not provided the Court with copies of TDOC policy numbers 103.10,

118.01, and 501 .02 and fails, does not cite to any specific provisions of the policies, and

does not allege specific actions of the defendants which violated the polices. However,

 

3 On March 8, 2004, the Court dismissed any claims against the defendants in their official capacities

Furthermore, on April 7, 2004, Johnson filed a motion to amend his complaint and amended complaint which clarified
that his claims were against the defendants in their individual capacities only.

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procedural requirements alone do not create a substantive liberty interest, and mere violation
of such procedures is not a constitutional violation Hewitt v. Helms, 459 U.S. 460, 471
(1983). Q`. Harrill v. Blount Countv` TN, 55 F.3d 1123, 1125 (6th Cir. 1995)(state law
cannot create a federal constitutional right); Sp_ruEe v. Walters, 753 F.2d 498, 508 (6th Cir.
1985)(violation of state law does not by itself constitute deprivation of due process).

Accordingly, there is no genuine issue of material fact as to plaintiffs remaining
claims and the defendants are entitled to judgment as a matter of law. The defendants’
motion for summary judgment is GRANTED.

The next issue to be addressed is whether plaintiff should be allowed to appeal this
decision in fo_rr_n_a M. Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may
not be taken in m Eiger if the trial court certifies in writing that it is not taken in good
faith.

The good faith standard is an objective one ConDedge v. United States, 369 U.S.
43 8, 445 (1962). An appeal is not taken in good faith if the issue presented is frivolous I_d_.
Accordingly, with regard to the claim dismissed for want of exhaustion, any appeal of that
claim would also be subject to immediate dismissal Accordingly, plaintiff Would not yet
be able to present that issue in good faith on appeal, and thus any appeal of that claim would
be frivolous In this case, for the reasons expressed above, there is no genuine issue of
material fact that the remainder of plaintiffs claims fail to state a claim upon which relief
can be granted As reasonable jurists could not differ regarding this conclusion, the Court
concludes that an appeal of the dismissal of those issues would also be frivolous

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 191 5(a)(3), that any appeal in this
matter by plaintiff is not taken in good faith, and plaintiff may not proceed on appeal i_n
team pauperis

The final matter to be addressed is the assessment of a filing fee if plaintiff appeals

the dismissal of this case The United States Court oprpeals for the Sixth Circuit has held

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that a certification that an appeal is not taken in good faith does not affect an indigent
prisoner plaintiffs ability to take advantage of the installment procedures contained in §
1915(b). McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997). M_cQ_L sets
out specific procedures for implementing the PLRA. Therefore, the plaintiff is instructed
that if he wishes to take advantage of the installment procedures for paying the appellate

filing fee, he must comply with the procedures set out in McGore and § 1915(b).

 

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IT IS SO ORDERED this cl 3 day of June, 2005.

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JAMES D. TODD
UNIT STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 59 in
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Honorable J ames Todd
US DISTRICT COURT

